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                                     #1623



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

CHARLES A. LEWIS, et al.,

      Defendants.                                  Case No. 06-CR-30166-13-DRH

                                      ORDER

HERNDON, Chief Judge:

             Before the Court is a Motion to Continue Sentencing Hearing (Doc. 557),

filed by defendant Charles Lewis. Sentencing is currently set for October 24, 2008,

but Defendant seeks additional time of at least thirty days in order to negotiate

certain aspects of his charges, in the hopes of obtaining a reduction in his possible

sentence. The Motion further states that the Government has no objection to a

continuance. For good cause, the Motion to Continue (Doc. 557) is GRANTED.

Accordingly, the sentencing hearing for defendant Lewis is hereby continued to

Friday, December 5, 2008 at 2:30 p.m.

             IT IS SO ORDERED.

             Signed this 23rd day of October, 2008.



                                             /s/   DavidRHer|do|
                                             Chief Judge
                                             United States District Court
